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REW J. HANLEY, ESQ. COUNSEL FOR
BRYAN BEHUNIAK, DAVID BEHUNIAK, and
ROSS BEHUNIAK

[signatures continued on next page]

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BY: DON T. EVANS, ESQ. GUARDIAN AD LITEM
FOR ROSS BEHUNIAK AND DAVID BEHUNIAK

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@ SERVING FAMILIES, INDIVIDUALS AND COMMUNITIES @

June 9, 2006

To Whom It May Concern,

Please feel free to contact me at 919 784 9182 ext. 1205 if you have any questions.

eo
Eric Harbour MSW, LCSW
ASAP Clinical Services-Program Coordinator

Exhibit "1"

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